        Case 1:20-cv-00351-PGG-KNF Document 29 Filed 11/05/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
ANNIE DAVIES, individually and on behalf of
all others similarly situated,

                             Plaintiff,

                   - against -                                                          ORDER

LEADDOG MARKETING GROUP and
CSM SPORTS AND ENTERTAIMENT, INC.,                                                 20- CV- 351 (PGG) (KNF)

                             Defendants.
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The telephone conference scheduled for December 16, 2020, at 10:00 a.m. will be held on the

same date at 5:30 p.m. The parties are directed to call (888) 557-8511 and, thereafter, enter access code

4862532.

         Please be advised that a court reporter will attend the conference via telephone.

Dated: New York, New York                                            SO ORDERED:
       November 5, 2020
Case 1:20-cv-00351-PGG-KNF Document 29 Filed 11/05/20 Page 2 of 2




                                2
